         Case 1:21-cr-00028-APM Document 377 Filed 08/31/21 Page 1 of 2




                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                     :
                                             :
v.                                           :      Crim. No. 21-CR-28 (APM)
JOSHUA JAMES                                 :


     UNOPPOSED MOTION TO MODIFY CONDITIONS OF RELEASE TO ATTEND
                          MOTIONS HEARING


       COMES NOW the Defendant, Joshua James, by and through counsel, and without

objection from the Government, and requests that this Court amend his Conditions of Release,

and in support of said motion states as follows

        1) Mr. James wishes to attend the motions hearing in-person on September 8, 2021.

        2) Counsel for Mr. James will be presenting argument on Mr. James’ pending motions

            at that hearing.

        3) The Government does not oppose the present request.

       For the above-stated reasons, Mr. James respectfully requests that the Court amend the

Defendant’s conditions of release to authorize the Defendant to attend, in-person, the motions

hearing set for September 8, 2021, in Washington, D.C.1



                                      Respectfully submitted,


1
 Mr. James plans to seek permission from pre-trial services to travel to Virginia for a meeting
with counsel the day prior to attending the Court hearing on September 8, 2021. Such meeting is
already authorized by his conditions of release upon notice to and compliance with pre-trial
services.
         Case 1:21-cr-00028-APM Document 377 Filed 08/31/21 Page 2 of 2




                                       By Counsel
                                       ____________/s/_____________
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                                 CERTIFICATE OF SERVICE
         I hereby certify that on the 31st day of August 2021, I will electronically file the foregoing
Notice with the Clerk of Court using the CM/ECF system, which will then send a notification of
said filing (NEF) to counsel of record.


                                                                   _______________/s/__________
                                                                         Christopher Leibig
